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 5

 6                               UNITED STATES DISTRICT COURT

 7                             NORTHERN DISTRICT OF CALIFORNIA

 8                                       SAN JOSE DIVISION

 9
     UNITED STATES OF AMERICA,                 )   Case No. CR-18-00258-EJD
10                                             )
            Plaintiff,                         )   MS. HOLMES’ RESPONSE TO MOTION TO
11                                             )   INTERVENE FOR THE LIMITED PURPOSE
       v.                                      )   OF MOVING TO EXEMPT JOHN
12                                             )   CARREYROU FROM WITNESS EXCLUSION
     ELIZABETH HOLMES and                      )   AND GAG ORDER
13   RAMESH “SUNNY” BALWANI,                   )
                                               )   Date: October 14, 2021
14          Defendants.                        )   Time: 1:30 p.m.
                                               )   Courtroom: 4, 5th Floor
15                                             )
                                               )   Hon. Nathanael Cousins
16                                             )
                                               )
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     MS. HOLMES’ RESPONSE TO MOTION TO INTERVENE AND TO EXEMPT JOHN
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 1                                        MS. HOLMES’ RESPONSE

 2          John Carreyrou is a fact witness in this case. Like all fact witnesses, Mr. Carreyrou must be

 3 excluded from the courtroom, and precluded from discussing his testimony with anyone but his lawyer.

 4 These routine steps are necessary to preserve the integrity of the trial. There is no basis in the Federal

 5 Rules or otherwise to treat Mr. Carreyrou as an expert witness under the Court’s order concerning the

 6 exclusion of witnesses, and Ms. Holmes does not consent to treating him as such.

 7          Because the defense has named Mr. Carreyrou as a witness in good faith, Mr. Carreyrou’s

 8 arguments for exemption from this Court’s exclusionary order are unavailing. The right of public access

 9 is not implicated when witnesses are excluded from the courtroom; there is no reporter’s privilege in a

10 federal criminal case absent bad faith or harassment; and Mr. Carreyrou has not been unfairly

11 discriminated against as compared to other members of the media. The minimal restrictions on

12 communication by fact witnesses, like Mr. Carreyrou, concerning their testimony are common practice

13 and consistent with the First Amendment.

14                                                BACKGROUND

15          Mr. Carreyrou is a fact witness in this case for four reasons. First, the government introduced

16 Mr. Carreyrou into the case through its Rule 404(b) disclosures. Second, multiple witnesses at trial have

17 already testified to their interactions with Mr. Carreyrou in connection with events relevant to the case,

18 placing his percipient knowledge of those events at issue. Third, Mr. Carreyrou has communicated with

19 additional witnesses concerning the subject matter of this case. The testimony of those witnesses may

20 open additional areas of relevant examination. Fourth, Mr. Carreyrou was in regular communication

21 with FDA and CMS officials during their investigation of Theranos. Those contacts are documented,

22 and (at a minimum) affected the way in which CMS conducted its fall 2015 inspection of Theranos.

23          First, the government injected Mr. Carreyrou into the case as a witness with its second

24 supplemental Rule 404(b) notice. See 9/28/2020 Fed. R. Evid. 404(b) Notice, Dkt. 580-2, at 22-24, 58-

25 62, 77. That notice referenced Mr. Carreyrou by name fifteen times in connection with five categories

26 of Rule 404(b) evidence. See id.; see also Gov’t Third Amended Exhibit List, Dkt. 1001, at 135 (TX

27 2851) (Mad Money episode discussing Wall Street Journal reporting about Theranos).

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 1          Second, the government has put at issue Mr. Carreyrou’s actions by questioning trial witnesses

 2 about their interactions with him. Ms. Erika Cheung testified concerning her interactions with Mr.

 3 Carreyrou. 9/15/2021 Trial Tr. 981:19-985:11. More recently, Dr. Adam Rosendorff testified that he

 4 discussed his time at Theranos with Mr. Carreyrou, 9/28/2021 Trial Tr. 1958:22-1959:13, and that Mr.

 5 Carreyrou referred him to a specific attorney, id.1959:23-1960:1; see also 10/5/2021 Trial Tr. 2667:1-

 6 2668:11 (testifying as to interactions with lawyers about a possible qui tam lawsuit and potential for

 7 monetary recovery in such lawsuit).1

 8          Third, Mr. Carreyrou has communicated directly with numerous additional government

 9 witnesses in the case. Those witnesses include Tyler Shultz,2 Stanley Fiorito,3 Stephen Master,4 and

10 Kingshuk Das.5 If called, their testimony may open additional avenues of examination of Mr.

11 Carreyrou.6

12          Fourth, Mr. Carreyrou is a fact witness in connection with CMS and FDA inspections of

13 Theranos. During the time in question, Mr. Carreyrou was in regular communication with officials at

14 both agencies. Mr. Carreyrou’s communication with CMS personnel reached at least three additional

15 witnesses in this case, Karen Dyer,7 Sarah Bennett,8 and Gary Yamamoto.9 Documents produced to the

16
            1
17             While Dr. Rosendorff was on the witness stand, Mr. Carreyrou publicly praised “his integrity
     and his courage” in serving as an anonymous source for Bad Blood. See J. Rosenblatt, Theranos Lab
18   Director Revealed as Key Source for WSJ Expose, Bloomberg (Sept. 28, 2021), available at
     https://www.bloomberg.com/news/articles/2021-09-28/theranos-lab-director-reveals-himself-to-be-
19   source-in-wsj-expose.
             2
               John Carreyrou, Bad Blood 301 (2018), Dkt. 956-2.
20           3
                Patrick Coffee, Theranos and Elizabeth Holmes: the Marketing of Silicon Valley’s Favorite
21   Villain, AdWeek (Mar. 15, 2019), available at https://www.adweek.com/brand-marketing/theranos-and-
     elizabeth-holmes-the-marketing-of-silicon-valleys-favorite-villain/.
22           4
               John Carreyrou, Bad Blood 301 (2018), Dkt. 956-2.
             5
23             Cline Decl. Ex. 1 at 3 (US-REPORTS-0024149).
             6
               Surekha Gangakhedkar, who has already testified in this case, also spoke with Mr. Carreyrou.
24   Cline Decl. Ex. 7 at 6 (US-REPORTS-0013609).
             7
25             Cline Decl. Ex. 3 at 1 (CMS042208); Ex. 4 at 1-2 (CMS008732); Ex. 5 at 1 (CMS007240); see
     also MIL Order, Dkt. 798 at 87 (“[Mr. Carreyrou] talked to Dyer about the article.” (quoting Dkt. 584-3
26   at 3)).
             8
               Cline Decl. Ex 2 at 1 (CMS056877); Ex. 3 at 1 (CMS042208); Ex. 4 at 1-2 (CMS008732).
27           9
               Cline Decl. Ex. 3.
28   MS. HOLMES’ RESPONSE TO MOTION TO INTERVENE AND TO EXEMPT JOHN
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 1 defense show that Mr. Carreyrou repeatedly encouraged investigation of Theranos and inquired into the

 2 state of investigations into Theranos.10 For example, Mr. Carreyrou repeatedly contacted CMS

 3 regarding the qualifications of Dr. Sunil Dhawan, yet another trial witness.11 Indeed, CMS was not in

 4 possession of a complaint against Theranos until one was provided by Mr. Carreyrou.12

 5                                            PROCEDURAL HISTORY

 6          In her pretrial conference statement, Ms. Holmes requested that all witnesses, with the exception

 7 of herself, a government case agent, and the parties’ experts, be excluded from the courtroom. Dkt. 815

 8 at 6. At the pretrial conference, the government agreed that “it would be appropriate to exclude the facts

 9 witness[es].” 6/15/2021 Hr’g Tr. 40:14-16; see also id. at 40:18-21 (“I think it would be appropriate for

10 experts to listen to certain testimony and rely on that for part of their opinions, but for the fact witnesses,

11 the government has no objection.”); id. at 42:11-12 (“I agree that the witnesses should not be in the

12 courtroom during the testimony.”).

13          On June 15, the Court ordered that “[f]act witnesses shall be excluded from the courtroom during

14 testimony. Fact witnesses shall not discuss their testimony with anyone and may be able to speak with

15 their counsel.” Dkt. 824 at 2. The order also provided that experts would not be excluded from the

16 courtroom during testimony. Id.

17          On October 1, Mr. Carreyrou filed the Motion to Intervene to Remove Mr. Carreyrou from

18 Witness Exclusion and Gag Order, Dkt. 1056 (“Motion”). On October 5, Judge Davila entered an order

19 referring the Motion to Judge Cousins. Dkt. 1064. On October 8, the government filed its response to

20 Mr. Carreyrou’s Motion. Dkt. 1071.13 Later that same day, the Court entered an order setting a hearing

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22          10
                Cline Decl. Ex. 4 at 1-2 (CMS008732); Ex. 6 at (CMS005125).
            11
23              Cline Decl. Ex. 4 at 1-2 (CMS008732); Ex. 5 at 2 (CMS007240).
             12
                Cline Decl. Ex 2 at 1 (CMS056877).
24           13
                In this filing and in its amended pleading, the government observed that Mr. Carreyrou did not
25   appear on Ms. Holmes’ initial witness list, shared with the government on October 13, 2020, nearly a
     year before trial. Dkt. 1071 at 3; see also Dkt. 1081 at 1. Like the government, which added more than
26   40 witnesses to its witness list following its initial disclosure, the defense supplemented its initial
     witness list with Mr. Carreyrou and other persons relevant to various potential issues in the case. Ms.
27   Holmes’ witness list is responsive to the government’s evolving case and to the Court’s evidentiary
     rulings.
28   MS. HOLMES’ RESPONSE TO MOTION TO INTERVENE AND TO EXEMPT JOHN
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 1 date for the Motion on October 14, and instructing the parties to “consider this potential solution to Mr.

 2 Carreyrou’s motion: treat him as an expert witness for purposes of the exclusion order. In other words,

 3 Mr. Carreyrou would not be excluded from the courtroom during testimony by other witnesses.” Dkt.

 4 1074.

 5                                                  ARGUMENT

 6 I.       Ms. Holmes Does Not Consent to Treating Mr. Carreyrou as an Expert Witness for
            Purposes of the Court’s Exclusion Order, and There Is No Basis in the Federal Rules For
 7          Doing So.

 8
            Ms. Holmes does not consent to treating Mr. Carreyrou as an expert witness for purposes of the
 9
     Court’s exclusion order. He is a fact, not an expert, witness. Because Ms. Holmes has requested the
10
     exclusion of witnesses, Mr. Carreyrou must be excluded from trial under Rule 615.14
11
            Mr. Carreyrou’s testimony is relevant because of his personal knowledge of key events, Fed. R.
12
     Evid. 602, not because of “scientific, technical, or other specialized knowledge,” Fed. R. Evid. 702(a).
13
     He has never claimed to be an expert, nor has either party noticed him as one.
14
            Rule 615 “makes the exclusion of witnesses a matter of right and the decision is no longer
15
     committed to the court’s discretion as it once was.” United States v. Brewer, 947 F.2d 404, 408 (9th Cir.
16
     1991) (“The use of the word ‘shall’ makes it clear that a district court must comply with a request for
17
     exclusion.”); 4 Weinstein’s Federal Evidence § 615.03[1]. When a party requests the exclusion of
18
     witnesses from the courtroom, exclusion is mandatory, unless one of the four exceptions specified in
19
     Rule 615 applies.
20
            The Ninth Circuit has, in some circumstances, permitted expert witnesses to attend trial pursuant
21
     to Rule 615(c). That subsection exempts witnesses “whose presence a party [has] show[n] to be
22
     essential to presenting the party’s claim or defense.” Fed. R. Evid. 615(c); see, e.g., Milicevic v.
23
     Fletcher Jones Imports, Ltd., 402 F.3d 912, 915-16 (9th Cir. 2005) (affirming denial of motion to
24
     exclude plaintiff’s husband who had been noticed as a witness by defendants, because husband was an
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26
            14
27           Ms. Holmes does not oppose Mr. Carreyrou’s motion to intervene for limited purpose—
   instead, she opposes the Motion to Exempt John Carreyrou from Witness Exclusion and Gag Order.
28 MS. HOLMES’ RESPONSE TO MOTION TO INTERVENE AND TO EXEMPT JOHN
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 1   attorney and had represented plaintiff since beginning of case); Fed. R. Evid. 615 Advisory Committee

 2   Notes (recognizing that “an expert needed to advise counsel in the management of the litigation” may

 3   qualify for this exception). In order to benefit from this exception, the moving party must “make ‘a fair

 4   showing’ that ‘the expert witness is in fact required for the management of the case.’” See United

 5   States v. Seschillie, 310 F.3d 1208, 1213 (9th Cir. 2002) (citation omitted).

 6          Neither the government nor Ms. Holmes has attempted to show that Mr. Carreyrou’s “presence”

 7   is “essential to presenting the party’s claim or defense” in the way that prior counsel or an expert

 8   witness might be. Fed. R. Evid. 615(c). Under Rule 615(c), that ends the matter. Seschillie, 310 F.3d

 9   at 1213.15 Nor could the government plausibly make such a showing. The government has consistently

10   denied collaborating with Mr. Carreyrou, so it cannot claim that it needs him to be present in the

11   courtroom for mid-trial consultations. And because Mr. Carreyrou is a fact, not an expert, witness, he

12   will not be permitted to base any opinions on the testimony of other fact witnesses.

13          Permitting Mr. Carreyrou to attend trial and hear the testimony of other fact witnesses would

14   defeat the purpose of Rule 615—“to prevent witnesses from ‘tailoring’ their testimony to that of earlier

15   witnesses.” Seschillie, 310 F.3d at 1212-13. (citation omitted). Applying Rule 615(c), the Ninth

16   Circuit has explained that it is appropriate for certain expert witnesses to attend trial for the purpose of

17   informing their later testimony. When an expert does not testify to facts, the court of appeals has said,

18   “the need for sequestration” is “nullif[ied].” Id. at 1213. That is because “‘[a]n expert who is not

19   expected to testify to facts, but only assumes facts for purposes of rendering opinions, might just as

20   well hear all of the trial testimony so as to be able to base his opinion on more accurate factual

21   assumptions.’” Id. at 1214. (citation omitted).

22          That logic has no bearing when fact witnesses like Mr. Carreyrou are at issue. In the case of fact

23 witnesses, exclusion “serves both to reduce the danger that a witness’s testimony will be influenced by

24 hearing the testimony of other witnesses, and to increase the likelihood that the witness’s testimony will

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26          15
            Rule 615(c) also governs the attendance at trial of “summary witnesses.” See United States v.
27 Mohney, 949  F.2d 1397, 1404-05 (6th Cir. 1991). Ms. Holmes notes that prior to the 2011 amendments,
   Rule 615(c) appeared as Rule 615(3). The provisions are substantively identical.
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 1 be based on [his] own recollections.” United States v. Hobbs, 31 F.3d 918, 921 (9th Cir. 1994) (quoting

 2 Perry v. Leeke, 488 U.S. 272, 281-82 (1989)). Given the breadth of potential examination relating to

 3 Mr. Carreyrou, the risk of witnesses “matching” testimony is particularly acute.

 4 II.      No Other Exception to Rule 615 Applies.

 5          No other exception to Rule 615 justifies Mr. Carreyrou’s exemption from the Court’s

 6 exclusionary order. Mr. Carreyrou is not a party. Fed. R. Evid. 615(a). He is not a designated

 7 representative of a party. Fed. R. Evid. 615(b). And he has identified no statutory right to be present.

 8 Fed. R. Evid. 615(d). In a footnote, Mr. Carreyrou suggests that the Court could grant him access to the

 9 trial proceedings pursuant to Rule 615(d), which provides that “a person authorized by statute to be

10 present” may hear testimony. Motion at 8 n.8. Although Mr. Carreyrou has identified no statutory right

11 to be present, he maintains that the First Amendment public right of access satisfies Rule 615(d),

12 “because the Constitution carries greater force than any statute.” Id.

13          Mr. Carreyrou cites no authority for the proposition that Rule 615(d) incorporates a general

14 public right of access, and Rule 615’s requirements would be eviscerated by such an interpretation.

15 Under Mr. Carreyrou’s position, any fact witness could attend trial, and shape his testimony on the basis

16 of the testimony of others—which is why the canonical public right of access case, Richmond

17 Newspapers, Inc. v. Virginia, acknowledges exclusion of witnesses as a “tested alternative” to

18 courtroom closure for addressing “any problems with witnesses.” 448 U.S. 555, 581 (1980) (opinion of

19 Burger, C.J.); Globe Newspaper Co. v. Sup. Ct. for Norfolk Cty., 457 U.S. 596, 606 (1982) (right of

20 access to criminal trials “is not absolute”); United States v. McVeigh, 106 F.3d 325, 336 (10th Cir. 1997)

21 (holding that Rule 615 does not implicate the public right of access). In any event, the Advisory

22 Committee Notes make clear that Rule 615(d) was enacted in order to reconcile Rule 615 with two

23 victims’ rights statutes, neither of which is applicable to Mr. Carreyrou. See Fed. R. Evid. 615, 1998

24 Advisory Committee Notes.

25 III.     The Defense Included Mr. Carreyrou in its Witness List in Good Faith.

26          The defense included Mr. Carreyrou on its witness list in good faith. To take one example of

27 potential testimony, Mr. Carreyrou may be called to testify concerning his interactions with federal

28 MS. HOLMES’ RESPONSE TO MOTION TO INTERVENE AND TO EXEMPT JOHN
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 1 regulators. Such testimony is clearly relevant. As this Court has recognized, testimony concerning the

 2 “details of the investigatory process” may be relevant to the credibility and weight of the evidence

 3 produced by the investigation. Dkt. 798 at 87 (citing United States v. Sager, 227 F.3d 1138, 1145 (9th

 4 Cir. 2000)).16

 5          Critically, none of the cases cited by Mr. Carreyrou involve challenges to the exclusion of a

 6 member of the press who was a percipient witness to key events at issue in the case. Most involve the

 7 exclusion of members of the press who simply reported on events from the courtroom. United States v.

 8 Connolly involved an order to exclude two journalists who had been noticed as a fact witness—but in

 9 that case, the journalists had been named as a witness for the sole purpose of verifying the accuracy of

10 statements by witnesses appearing in their articles. 204 F. Supp. 2d 138, 139 (D. Mass. 2002). This

11 case is far different. Mr. Carreyrou was a direct participant in events at issue in this trial. See supra pp.

12 1-3. He injected himself into Theranos’ relationships with regulators. He contacted former Theranos

13 employees and encouraged them to take various actions at issue in this trial. He is not merely an after-

14 the-fact reporter of events in which he was not involved.

15 IV.      Mr. Carreyrou’s Remaining Arguments for Exemption from This Court’s Exclusionary
            Order Are Legally Infirm.
16

17          A.      The Exclusion of Specific Fact Witnesses Does Not Implicate the First Amendment
                    Right of Public Access.
18

19          Because the proceedings remain accessible to the public and press at large, the right of public

20 access is not implicated here. See McVeigh, 106 F.3d at 336 (“We are not aware of any case in which an

21 analogous order [sequestering witnesses under Rule 615] was held to implicate the constitutional right

22

23          16
                At the motion in limine stage, the government moved to preclude Ms. Holmes from arguing
24   that the prosecutors’ “charging decisions were influenced by ‘coordination’ with journalists or
     competitors.” MIL Order, Dkt. 798 at 87. In granting that narrow request, the Court made clear that
25   “[n]othing in this Order is intended to preclude [Ms.] Holmes from presenting evidence or argument
     regarding the details, thoroughness, or good faith of the criminal investigation.” Id. at 88; see also id. at
26   87 (“Evidence regarding the Government’s investigation may be relevant and admissible at trial.”). To
     the extent the government presents evidence in its case-in-chief of agency investigations of Theranos, as
27   it has indicated it intends to do, the Court’s Order permits the defense to present evidence of Mr.
     Carreyrou’s influence on those agency investigations.
28   MS. HOLMES’ RESPONSE TO MOTION TO INTERVENE AND TO EXEMPT JOHN
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 1 recognized in Richmond Newspapers and Globe Newspaper Co.”). And even if it were, the well-

 2 established practice of excluding fact witnesses would be necessary to further the compelling interest of

 3 preserving the integrity of the judicial process, and narrowly tailored to that end. Globe Newspaper Co.,

 4 457 U.S. at 606-07 & n. 17.

 5          B.      The Reporter’s Qualified Privilege is Inapplicable to Mr. Carreyrou, Because He
                    Was Not Named a Witness in Bad Faith or Harassment.
 6

 7          Mr. Carreyrou argues that, by reason of the reporter’s qualified privilege, he is unlikely to testify,

 8 and therefore would not be subject to Rule 615 if served by subpoena.17 That is wrong. The Ninth

 9 Circuit and this Court have rejected a reporter’s privilege under the First Amendment or federal

10 common law in federal criminal cases absent bad faith or harassment. See, e.g., United States v.

11 Glassdoor, Inc., 875 F.3d 1179, 1189-92 (9th Cir. 2017) (no reporter’s privilege or other First

12 Amendment-based privilege in grand jury context absent bad faith); United States v. Sterling, 724 F.3d

13 482, 492-96, 499-502 (4th Cir. 2013) (no reporter’s privilege under First Amendment or federal

14 common law in criminal case absent bad faith, harassment, or other illegitimate motive, even if reporter

15 promised confidentiality to source); In re Grand Jury Proceedings, 5 F.3d 397, 400-03 (9th Cir. 1993)

16 (discussing reporter’s privilege in rejecting claim of scholar’s privilege; court finds no basis for not

17 “insisting that reporters, like other citizens, respond to relevant questions put to them in the course of a

18 valid grand jury investigation or criminal trial”); Lewis v. United States, 517 F.2d 236, 238 (9th Cir.

19 1975) (rejecting First Amendment and federal common law claims of reporter’s privilege absent bad

20 faith or harassment); In re Grand Jury Subpoenas, 438 F. Supp. 2d 1111, 1115-19 (N.D. Cal. 2006)

21 (White, J.) (no First Amendment or federal common law reporter’s privilege in grand jury context);

22 United States v. Schneider, 2003 U.S. Dist. LEXIS 27324, at *4 (N.D. Cal. Nov. 18, 2003) (Illston, J.)

23 (rejecting First Amendment reporter’s privilege in criminal case absent bad faith or harassment,

24 distinguishing Shoen v. Shoen (“Shoen I”), 5 F.3d 1289, 1292 (9th Cir. 1993), and explaining the

25 difference in scope between the reporter’s privilege in civil and criminal cases); see also, e.g., United

26
            17
27           Mr. Carreyrou cites no case for the proposition that a subpoena is necessary to prove that a
   party disclosed a witness in good faith, or that a subpoena is necessary to trigger Rule 615.
28 MS. HOLMES’ RESPONSE TO MOTION TO INTERVENE AND TO EXEMPT JOHN
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 1 States v. Smith, 135 F.3d 963, 968-73 (5th Cir. 1998) (no reporter’s privilege for non-confidential

 2 information in federal criminal case absent bad faith or harassment).

 3          Given Mr. Carreyrou’s self-directed, percipient involvement in the facts of this case, his

 4 unsubstantiated claim of harassment and bad faith is meritless. Because Ms. Holmes has disclosed Mr.

 5 Carreyrou as a witness in good faith, no reporter’s privilege applies. Even if it did, Mr. Carreyrou has

 6 cited no authority for the proposition that he is immune from the requirements of Rule 615 because of

 7 the potential application of a qualified privilege.

 8          C.      Mr. Carreyrou Has Not Been Unfairly Discriminated Against as Compared with
                    Other Members of the Media.
 9

10          Because he has been disclosed as a witness in good faith, Mr. Carreyrou has not been unfairly

11 discriminated against vis-à-vis other journalists. See supra pp. 1-3. Indeed, contrary to his repeated

12 claim, Mr. Carreyrou is not the only journalist named as a witness. Roger Parloff, a journalist and

13 former writer for Fortune, is on the government’s witness list and like, Mr. Carreyrou is subject to Rule

14 615. Dkt. 999 at 5. Eric Topol, a doctor and author, is also on the government’s witness list. Id. at 6.

15 The government has noticed as an exhibit an interview that he conducted with Ms. Holmes. See Gov’t

16 Third Amended Exhibit List, Dkt. 1001, at 61 (TX 1253).

17 V.       This Court Has Correctly Restricted Fact Witnesses’ Communication Regarding Their
            Testimony, Including That of Mr. Carreyrou.
18

19          The Court’s restriction on Mr. Carreyrou’s discussion of his anticipated testimony is routine and

20 necessary to enforce the protections of Rule 615. As the Supreme Court has recognized, “[i]t is a

21 common practice for a judge to instruct a witness not to discuss his or her testimony with third parties

22 until the trial is completed.” Perry, 488 U.S. at 281. “If witnesses are excluded but not cautioned

23 against communicating during the trial, the benefit of the exclusion may be largely destroyed.” Id. at

24 281 n. 4 (quoting Milanovich v. United States, 275 F.2d 716, 720 (4th Cir. 1960)).

25          Relying on Levine v. U.S. Dist. Ct. and its progeny, Mr. Carreyrou asserts that this routine

26 limitation on trial participants infringes his constitutional rights. 764 F.2d 590, 595 (9th Cir. 1985). But

27 Levine expressly endorsed restrictions on fact witnesses:

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 1          The most practical and recommended procedure to insure against dissemination of
            prejudicial information is the entry of an order directing that attorneys, court
 2          personnel, enforcement officers and witnesses refrain from releasing any
            information which might interfere with the right of the defendant to a fair trial.
 3
     id. at 601 (quoting Farr v. Pitchess, 522 F.2d 464, 468 (9th Cir. 1975)); id. at 595 (distinguishing
 4
     between limitations on speech of trial participants and nonparticipants); id. at 596 (“The overwhelming
 5
     majority of [courts to have considered restraints on the speech of trial participants] have upheld the
 6
     restraining orders.”); id. at 599 (“it would be appropriate to proscribe statements” by defense counsel
 7
     “relating to . . . the expected testimony of a party or a witness”). The Ninth Circuit endorsed these steps
 8
     in order to protect the defendant’s constitutional right to a fair trial when it was threatened by public
 9
     statements by trial participants. The court concluded that various potential “less restrictive
10
     alternatives”—the same ones proposed by Mr. Carreyrou—were “ineffective or counterproductive.” Id.
11
     at 599-600; see also Motion at 20. Communication by fact witnesses concerning their anticipated
12
     testimony would seriously and imminently threaten Ms. Holmes’ fair trial right, as did the
13
     communications by defense counsel to the press in Levine.
14
            In this case, the Court did not impose the broader restraints contemplated by Levine. To the
15
     contrary, the order is narrowly tailored. Mr. Carreyrou continues to participate in his podcast, write, and
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     sit for interviews. He continues to comment on the trial testimony of witnesses. He, like each of the
17
     more than 200 potential witnesses in this case, simply cannot discuss his testimony with anyone but his
18
     lawyer during the course of the trial, or attend trial. See United States v. Shaver, 607 F. Supp. 2d 1168,
19
     1175 (S.D. Cal. 2009) (“Rule 615 applies equally to rebuttal witnesses and to witnesses who have
20
     already testified.” (citing United States v. Elle, 718 F.2d 291, 293 (9th Cir. 1983))). There is no less
21
     restrictive alternative that protects Ms. Holmes’ fair trial right or her due process right. Mr. Carreyrou
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     cites no opinion holding this minimal limitation on a fact witness to violate the First Amendment. Nor
23
     does he identify any authority for the proposition that California’s Constitution binds federal courts in a
24
     criminal case.18 See Lewis, 517 F.2d at 237 (rejecting argument that California’s reporter’s privilege
25

26          18
              Freedom Communications v. Superior Court, 167 Cal. App. 4th 150 (2008), a civil case in
   California state court, presented the narrow question whether restrictions on a newspaper’s reporting of
27 a trial to which it was a party were consistent with the First Amendment. The court did not address
   other elements of the order at issue in that case, which barred witnesses from the courtroom, and
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 1 applied to federal grand jury subpoena). And Mr. Carreyrou fails to explain why he is entitled to “a list

 2 of questions” or “proffer” prior to any testimony he may be called upon to provide. Motion at 21.

 3                                                CONCLUSION

 4          For the reasons above, the Motion to Exempt John Carreyrou from Witness Exclusion and Gag

 5 Order should be denied.

 6

 7 DATED: October 13, 2021

 8

 9                                                       /s/ John D. Cline
                                                         JOHN D. CLINE
10                                                       Attorney for Elizabeth Holmes
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26 precluded witnesses from discussing their testimony with one another. Id. at 152. And the one-page,
   unpublished order from United States v. Scrushy granting an unopposed motion to exempt two
27 journalists from a previous order of courtroom exclusion contains no reasoning. United States v.
   Scrushy, Case No. 2:03-cr-00530-KOB-TMP, Dkt. 398 (N.D. Ala. Feb. 15, 2005).
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 1                                     CERTIFICATE OF SERVICE

 2         I hereby certify that on October 13, 2021 a copy of this filing was delivered via ECF on all
 3 counsel of record.

 4

 5

 6                                                      /s/ John D. Cline
                                                        JOHN D. CLINE
 7                                                      Attorney for Elizabeth Holmes
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